Case 17-11776-CMG   Doc 1     Filed 01/31/17 Entered 01/31/17 10:50:55   Desc
                            Petition Page 1 of 19
Case 17-11776-CMG   Doc 1     Filed 01/31/17 Entered 01/31/17 10:50:55   Desc
                            Petition Page 2 of 19
Case 17-11776-CMG   Doc 1     Filed 01/31/17 Entered 01/31/17 10:50:55   Desc
                            Petition Page 3 of 19
Case 17-11776-CMG   Doc 1     Filed 01/31/17 Entered 01/31/17 10:50:55   Desc
                            Petition Page 4 of 19
Case 17-11776-CMG   Doc 1     Filed 01/31/17 Entered 01/31/17 10:50:55   Desc
                            Petition Page 5 of 19
Case 17-11776-CMG   Doc 1     Filed 01/31/17 Entered 01/31/17 10:50:55   Desc
                            Petition Page 6 of 19
Case 17-11776-CMG   Doc 1     Filed 01/31/17 Entered 01/31/17 10:50:55   Desc
                            Petition Page 7 of 19
Case 17-11776-CMG   Doc 1     Filed 01/31/17 Entered 01/31/17 10:50:55   Desc
                            Petition Page 8 of 19
Case 17-11776-CMG   Doc 1     Filed 01/31/17 Entered 01/31/17 10:50:55   Desc
                            Petition Page 9 of 19
Case 17-11776-CMG   Doc 1 Filed 01/31/17 Entered 01/31/17 10:50:55   Desc
                         Petition Page 10 of 19
Case 17-11776-CMG   Doc 1 Filed 01/31/17 Entered 01/31/17 10:50:55   Desc
                         Petition Page 11 of 19
Case 17-11776-CMG   Doc 1 Filed 01/31/17 Entered 01/31/17 10:50:55   Desc
                         Petition Page 12 of 19
Case 17-11776-CMG   Doc 1 Filed 01/31/17 Entered 01/31/17 10:50:55   Desc
                         Petition Page 13 of 19
Case 17-11776-CMG   Doc 1 Filed 01/31/17 Entered 01/31/17 10:50:55   Desc
                         Petition Page 14 of 19
Case 17-11776-CMG   Doc 1 Filed 01/31/17 Entered 01/31/17 10:50:55   Desc
                         Petition Page 15 of 19
Case 17-11776-CMG   Doc 1 Filed 01/31/17 Entered 01/31/17 10:50:55   Desc
                         Petition Page 16 of 19
Case 17-11776-CMG   Doc 1 Filed 01/31/17 Entered 01/31/17 10:50:55   Desc
                         Petition Page 17 of 19
Case 17-11776-CMG   Doc 1 Filed 01/31/17 Entered 01/31/17 10:50:55   Desc
                         Petition Page 18 of 19
Case 17-11776-CMG   Doc 1 Filed 01/31/17 Entered 01/31/17 10:50:55   Desc
                         Petition Page 19 of 19
